                      Case 2:21-cr-00111-WBS Document 204 Filed 11/15/24 Page 1 of 8
AO 245C-CAED (Rev. 09/2019) Sheet 1 - Amended Judgment in a Criminal Case   (NOTE: Identify Changes with Asterisks*)



                             UNITED STATES DISTRICT COURT
                                                Eastern District of California
                UNITED STATES OF AMERICA                                     AMENDED JUDGMENT IN A CRIMINAL CASE
                           v.                                                Case Number: 2:21CR00111-01
                 ROBERT ALLEN POOLEY                                         Defendant's Attorney: Mia Crager and Meghan McLoughlin, Assistant
                                                                             Federal Defender
 Date of Original Judgment:           September 30, 2024
 (Or Date of Last Amended Judgment)
THE DEFENDANT:
     pleaded guilty to count(s)   .
     pleaded nolo contendere to count(s)            , which was accepted by the court.
     was found guilty on count(s) 2 and 3           after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                    Nature of Offense                                                                   Offense Ended   Count
18 U.S.C. § 1343                       Wire Fraud (Class C Felony)                                                     6/29/2016       2
18 U.S.C. § 1343                       Wire Fraud (Class C Felony)                                                     7/4/2016        3

       The defendant is sentenced as provided in pages 2 through             of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s) 1, 4, 5 and 6 .
     Count(s)      dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                     Appeal rights waived.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                             11/12/2024
                                                                             Date of Imposition of Judgment
                                                                             /s/ William B. Shubb
                                                                             Signature of Judicial Officer
                                                                             William B. Shubb, Senior U. S. District Judge
                                                                             Name & Title of Judicial Officer
                                                                             11/15/2024
                                                                             Date
                      Case 2:21-cr-00111-WBS Document 204 Filed 11/15/24 Page 2 of 8
AO 245B-CAED (Rev. 09/2019) Sheet 2 - Imprisonment
DEFENDANT: ROBERT ALLEN POOLEY                                                                                                     Page 2 of 8
CASE NUMBER: 2:21CR00111-01

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
24 months as to each of Counts 2 and 3, to be served concurrently to each other, for a total term of 24 months.

       No TSR: Defendant shall cooperate in the collection of DNA.

       The court makes the following recommendations to the Bureau of Prisons:
       The court recommends that the defendant be incarcerated in a California facility, but only insofar as this accords with security
       classification and space availability.

       The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 12:00 PM on 11/19/2024 .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

       Other, Please Specify:


                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                        to
at                                                   , with a certified copy of this judgment.



                                                                         United States Marshal


                                                                         By Deputy United States Marshal
                      Case 2:21-cr-00111-WBS Document 204 Filed 11/15/24 Page 3 of 8
AO 245B-CAED (Rev. 09/2019) Sheet 3 - Supervised Release
DEFENDANT: ROBERT ALLEN POOLEY                                                                                                     Page 3 of 8
CASE NUMBER: 2:21CR00111-01

                                                           SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
36 months as to each of Counts 2 and 3, to be served concurrently to each other, for a total term of 36 months.

                                                       MANDATORY CONDITIONS
You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two (2) periodic drug tests thereafter, not to exceed four (4) drug tests per month.



       The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
       abuse.

       You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
       restitution.

       You must cooperate in the collection of DNA as directed by the probation officer.

       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
       directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
       reside, work, are a student, or were convicted of a qualifying offense.

       You must participate in an approved program for domestic violence.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                      Case 2:21-cr-00111-WBS Document 204 Filed 11/15/24 Page 4 of 8
AO 245B-CAED (Rev. 09/2019) Sheet 3 - Supervised Release
DEFENDANT: ROBERT ALLEN POOLEY                                                                                                        Page 4 of 8
CASE NUMBER: 2:21CR00111-01

                                          STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
         different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
4.       You must answer truthfully the questions asked by the probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
         notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
         from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation officer
         excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
         job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at
         least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
         the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
         nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
         person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.
                                                      U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _____________________________                                               Date _________________
                      Case 2:21-cr-00111-WBS Document 204 Filed 11/15/24 Page 5 of 8
AO 245B-CAED (Rev. 09/2019) Sheet 3 - Supervised Release
DEFENDANT: ROBERT ALLEN POOLEY                                                                                                     Page 5 of 8
CASE NUMBER: 2:21CR00111-01

                                            SPECIAL CONDITIONS OF SUPERVISION
1.       You must submit your person, property, house, residence, vehicle, papers, computer, other electronic communications or data
         storage devices or media, or office, to a search conducted by a United States probation officer or any law enforcement officer
         under the immediate and personal supervision of the probation officer, based upon reasonable suspicion of unlawful conduct or
         a violation of a condition of supervision, without a search warrant. Failure to submit to a search may be grounds for revocation.
         You must warn any other occupants that the premises may be subject to searches pursuant to this condition.
2.       You must consent to third-party disclosure to any employer or potential employer, concerning any restrictions that are imposed
         upon you. This includes any activities in which you are acting as an advisor or consultant with or without any monetary gain or
         other compensation.
3.       You are prohibited from instructing or assisting with Tandem Instructor skydiving courses with or without any monetary gain or
         other compensation.
4.       You must not dispose of or otherwise dissipate any of your assets until the fine and/or restitution ordered by this Judgment is
         paid in full, unless you obtain approval of the Court.
5.       You must apply all monies received from income tax refunds, lottery winnings, inheritance, judgments, and any anticipated or
         unexpected financial gains to any unpaid fine and/or restitution ordered by this Judgment.
6.       You must provide the probation officer with access to any requested financial information and authorize the release of any
         financial information. The probation office may share financial information with the U.S. Attorney’s Office.
7.       You must not incur new credit charges or open additional lines of credit without the approval of the probation officer.
8.       You must make payments toward any unpaid criminal monetary penalty in this case during supervised release at the rate of at
         least 10% of your gross monthly income. Payments are to commence no later than 60 days from placement on supervision. This
         payment schedule does not prohibit the United States from collecting through all available means any unpaid criminal monetary
         penalty at any time, as prescribed by law.
                       Case 2:21-cr-00111-WBS Document 204 Filed 11/15/24 Page 6 of 8
AO 245B-CAED (Rev. 09/2019) Sheet 5 - Criminal Monetary Penalties
DEFENDANT: ROBERT ALLEN POOLEY                                                                                                        Page 6 of 8
CASE NUMBER: 2:21CR00111-01

                                                 CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

         TOTALS
         Processing Fee                 Assessment             AVAA Assessment*               JVTA Assessment**        Fine      Restitution
                                         $200.00                    $0.00                           $0.00             $0.00      $5,634.00
       The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

       The court orders the defendant to pay restitution to the victim(s) as outlined in the
       Restitution Attachment on Sheet 5B.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              The interest requirement is waived for the                 fine         restitution

              The interest requirement for the                fine         restitution is modified as follows:


       If incarcerated, payment of any unpaid criminal monetary penalties in this case is due during imprisonment at the rate of 10% of
       the defendant’s gross income per month or $25 per quarter, whichever is greater. Payment shall be made through the Bureau of
       Prisons Inmate Financial Responsibility Program.

       Other:
* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                       Case 2:21-cr-00111-WBS Document 204 Filed 11/15/24 Page 7 of 8
AO 245B-CAED (Rev. 09/2019) Sheet 5B - Criminal Monetary Penalties
DEFENDANT: ROBERT ALLEN POOLEY                                                              Page 7 of 8
CASE NUMBER: 2:21CR00111-01

                                                              RESTITUTION PAYMENTS
Restitution of $5,634.00 to:
BRADLEY NORTH                                                           CARLOS OBAID
SANTA CRUZ, CA 95062                                                    $1,100.00
$1,100.00
FABIAN MUNOZ                                                            FABRICIO PALOMINO
$2,100.00                                                               $1,334.00
                      Case 2:21-cr-00111-WBS Document 204 Filed 11/15/24 Page 8 of 8
AO 245B-CAED (Rev. 09/2019) Sheet 6 - Schedule of Payments
DEFENDANT: ROBERT ALLEN POOLEY                                                                                                     Page 8 of 8
CASE NUMBER: 2:21CR00111-01

                                                       SCHEDULE OF PAYMENTS
         Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A.                Lump sum payment of $           due immediately, balance due
                            Not later than      , or
                            in accordance              C,      D,          E,or        F below; or
B.                Payment to begin immediately (may be combined with              C,           D,     or    F below); or

C.                Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of     (e.g. months or
                  years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

D.                Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                  years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.                Payment during the term of supervised release/probation will commence within       (e.g. 30 or 60 days) after release
                  from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
                  time; or

F.                Special instructions regarding the payment of criminal monetary penalties:
                     Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to:
                        CLERK U.S.D.C.
                        501 "I" Street, #4-200
                        Sacramento, CA 95814
                  Your check or money order must indicate your name and citation/case number shown above to ensure your account is
                  credited for payment received.

If incarcerated, payment of any unpaid criminal monetary penalties in this case is due during imprisonment at the rate of 10% of the
defendant's gross income per month or $25 per quarter, whichever is greater. Payment shall be made through the Bureau of Prisons
Inmate Financial Responsibility Program.

The defendant shall make payments toward any unpaid criminal monetary penalties in this case during supervision at the rate of at least
10% of your gross monthly income. Payments are to commence no later than 60 days from placement on supervision. This payment
schedule does not prohibit the United States from collecting through all available means any unpaid criminal monetary penalties at any
time, as prescribed by law.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States: The Preliminary Order of
         Forfeiture is hereby made final as to this defendant and shall be incorporated into the Judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including
cost of prosecution and court costs.
